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EXHIBIT A
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Page 16
1 D. J. TRUMP

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Veterans Day Parade on November 10, 1995,

 

 

 

 
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D. J. TRUMP

 

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Page 5]
D. J. TRUMP
Ms. Carroll's allegations?
A. I think a reporter called -- I don't know

who -- and said that she had written something on a
book, and I said that's absolutely false, I had no

idea who she was. It was a made-up story.

The reporter you're talking about, you
spoke to her directly?
A. T don't Know. I don't remember that.
But the word got to me, and I put a statement out

that that was a made-up story. It's fiction.

 

 

 
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1 D. J. TRUMP

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Page 55
4. D. J. TRUMP

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it was
21 big news that Ms. Carroll had made this allegation
22 against you; correct?
23 A. I'd say it was, yeah. Because that's
24 what she wanted, to sell a book.

25 Q. And it was covered widely in the press;

 

 

 
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D. Jd. TRUMP

correct?

A. I don't know about widely. I just don't
know, but certainly it was a story that got out

there, and it was pure fiction.

responded pub. el iV to Ms

 

 

 
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1 D. J. TRUMP

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D. J. TRUMP

If you could read that statement into the

record,

QO. It says: "Statement from President
Donald J. Trump. Regarding the 'story' by
E. Jean Carroll claiming she once encountered me at
Bergdorf Goodman 23 years ago, I've never met this
person in my life. She's trying to sell a new book.
That should indicate her motivation, It should be
sold in the fiction section. Shame on those who
make up false stories of assault, who try to get
publicity for themselves or sell a book or carry out
a political agenda like Julie Swetnick, who falsely
accused Justice Brett Kavanaugh. It's just as bad

for people to believe it, particularly when there is

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D. J. TRUMP

zero evidence. Worse still for a dying publication
to try to prop itself up by pedaling fake news,
It's an epidemic. Ms. Carroll in New York Magazine;
No pictures, no surveillance, no videos, no reports,
no sales attendants around??? I would like to thank
Bergdorf Goodman for confirming they have no video
footage of any such incident because it never
happened. False accusations diminish the severity
of real assault. All should condemn false
accusations and any actual assault in the strongest
possible terms. If anyone has information that the
Democratic party is working with Ms. Carroll or
New York Magazine, please notify us as soon as
possible. The world should know what's really going
on. It's a disgrace, and people should pay dearly
for such false accusations." Do you see that?
That's what you have in front of you?

A. Yeah.

Q. And I think you've already confirmed that
this is a statement that you gave to someone on your
staff to give to the press?

A. Yeah.

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Fage 60
D. J. TRUMP

Q. Sitting here today, do you stand by this
statement?

A. Yes.

OF Sitting here today, are there any

inaccuracies in this statement that you now know of?
A. Not that I can see, no. The only thing
that I would say is -- and I've just heard this --
that she has no idea when this event took place, and
somehow 23 years is mentioned, 23 years ago. It's a
long time. But she has no idea supposedly when this
took place, what season, what year, what month, what
day. She knows nothing. And for some reason, it's
put down here 23 years ago. So, you Know, at one
point I was told 23 years. But I've heard since she
really has no clue when this took place supposedly,

which -- it didn't take place.

 

 
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1 D. J. TRUMP

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D. J. TRUMP

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1 D. J. TRUMP

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Page 71
D.. J, TRUMP

Sitting here today, I take it your
position is you never sexually assaulted

Ms, Carroll?

A. 100 percent correct.
QO. And sitting here today, I take it that
you never -- that you believe you never had any

sexual interaction whatsoever with Ms. Carroll?

A. I don't believe. I know. It's the most
ridiculous story I've ever heard, taking her up to a
department store. I have buildings all around the
store. Why would I ever do that? It's the most
ridiculous thing I've ever heard, It's a made-up
story. It's a con job.

QO. And are you aware -- I understand that
based on her -- Ms. Carroll's claim, there were two
people there, you and Ms. Carroll, but sitting here
today, sir, are you aware of any documents that
would undermine Ms. Carroll's claim that you
sexually assaulted her?

A. No documents. Just a statement: It

never happened.

 

 
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D. J. TRUMP

QO. And sitting here today, sir, are you
aware of any witnesses who would -- I mean people
who witnessed anything who would undermine the
credibility of Ms, Carroll's claim that you sexually

assaulted her?

THE WITNESS: The only thing I can think
of is -- and I'm going to start looking -- as
to whether or not any -- and the problem is she
can't give us a date, Because if you could
give me a date, which you can't because it
never happened, I would look at security.
because I usually had security walk in with me.
So if you could give me some kind of a date, I
would be able to find out if security was
around, and I could have a very nice witness,
I'd love to do that. But you can't give a date

because you have no idea when this supposedly

 

 
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Page 73

D. J. TRUMP

took place because it didn't take place.
BY MS. KAPLAN:

Q. So your answer to my question is, no, you
don't have any witnesses?

A. If you could give me a date, I could
check on security because I traveled with security
quite a bit, and I would have somebody from security
confirm a statement that it never happened.

Q. Is it your testimony, sir, that you
always walked around New York City during the period
late 1995 and early 1996 with security? Is that

your statement?

A. Pretty much, yes.
Q, Pretty much isn't always. Is that your
testimony?

THE WITNESS: I would say pretty much to
always, yeah. I always have a security person

with me.

 

 
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D. J. TRUMP

And if
something like this would have happened, the store
would have complained violently. It would have been
a major story in the newspapers. As I take it, she
said a dressing room on a -- it would be a crowded
floor. Bergdorf's is a very busy store in a very
prime location. I was very well-known to put it
mildly. And if I was going to be walking into a
dressing room with a woman -- the whole thing is so
ridiculous,

So the store would have -- it would have

been a major story on page 6 by Cindy Adams or Liz

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D. J. TRUMP

Smith or by somebody within minutes; okay? So there
were no complaints. There were no stories. There
was no anything because it never happened. It's all

fiction. It's a con job.

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1 D. J. TRUMP

QO. In your June 21 statement that's marked
as Exhibit 20, you say -- and this is the Littman
tweet -- "I never met this person in my life."

A. Yes.

Q. Was that a true statement when you made

of 3 A HW Pe

it on June 21, 2019?

10 A. It was a true statement when I made it.
11 I think subsequently or at some point they showed a
12. picture on a receiving -- I was on a celebrity line
13 for a charity, and I think I was either shaking her
14 hand or her husband's hand on a receiving line.)

15 Like I say, I shake a lot of hands with people, but

16 I had no idea who she was.

 

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ever haying met Ma. Carroll? You have since seen a

THE WITNESS: ‘This was a very public -

 

 

 
 

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D. J. TRUMP

 

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1 D. J. TRUMP

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1 D, J. TRUMP

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Page 103

D. Jd. TRUMP

Q. Okay. And I'm just going to use
categories. In addition to the people that I
mentioned, do you recall any conversations with
anyone in the legislative branch -- and by that I
mean the House or the Senate or people who work
there.

A. Well, it's probable that I told people
that there was a false, disgusting lie made about me
because I would say that to a lot of people. Even
if they didn't ask, I was very offended by this.
This woman is sick. There's something wrong with
her, and it's a false story. So I would go around
saying that to people, yes. So it's possible that I

would say that to legislators.

 

 

 
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Page 116
1 D. J. TRUMP
22 Q. Okay. I take it that in the period June
23 21 through June 24, 2019, your instructions to
24 anyone in the press about this issue involying

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E, Jean Carroll would have been consistent with your

 

 
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D. J. TRUMP

statements, which is tell people it never happened;
correct?

A It never happened.

 

 
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Page
D. J. TRUMP

QO. Ms. Grisham wrote in her book that at the
meeting you said to her just deny it. That's what
you do in every situation, right, Stephanie? You
just deny it?

A. No. I said deny this if I said that at
all, but I said it to many people. I said this
never happened.

QO. Okay. Do you have --

A. And I told people -- if anybody would ask
me, I said this never happened. This is a lie, and
in my opinion, the woman is sick. But I didn't go
into that too much. There's something wrong with
this woman.

Q. Do you recall having yet a third
conversation with Stephanie Grisham in the Oval
Office about whether anyone would have heard --
whether if this had happened in a dressing room,

someone should have heard it?

THE WITNESS: Well, I don't think so, but

I have told that to many people. If a thing

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D. J. TRUMP

like this would have happened, you would have
had people rushing in to find out what's going
on. You mean you're raping somebody ina
dressing room of a crowded department store,
people right outside, and this goes on for, I
assume, a period of time. And nobody would
come find out what the hell is going on there?
It's ridiculous.

So I do say that sometimes to people, I
Say can you imagine this? The concept of this?
And it's me. And I -- you know, a very famous
person. It's a disgrace. Frankly it's a
disgrace that something like that can be

brought.

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1 D. J. TRUMP

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1 D. J. TRUMP

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Page 130
D. J. TRUMP

QO. Why did you decide to issue the statement
on Truth Social on October 12th?

A. Because I was offended at this woman's
lie. Because I was offended that she could just
make up a story out of cold air, refuted by her
testimony on CNN, but that she could make up a story
just out of nowhere and that I get a phone call
asking me about this ridiculous situation. The
woman -- there's something wrong with her in my
opinion. Okay. But it's a false accusation. Never

happened, never would happen.

 

 

 

 
 

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D. J. TRUMP

Q. Is there anything in particular that
prompted you to make this statement last week?
A. Yeah. Her false story and that I have to

waste a whole day doing these ridiculous questions

with you.

i have 1

> appeared on Truth Social

 

 

 
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D. J. TRUMP
on October 12, 2022, and a blown-lp versi6n becalise
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Q. So it says: "October 12, 2022, statement

by Donald J. Trump, forty-fifth President of the
United States of America. This 'Ms. Bergdorf
Goodman case! is a complete con job, and our legal
system in this country but especially in New York
State (just look at Peekaboo James) is a broken
disgrace. You have to fight for years and spend a
fortune in order to get your reputation back from
liars, cheaters, and hacks. This decision is from
the judge who was just overturned on my same case.
I don't know this woman, have no idea who she is
other than it seems she had a picture of me many
years ago with her husband shaking my hand on a
reception line at a celebrity charity event. She
completely made up a story that I met her at the
doors of this crowded New York City department store

and within minutes 'swooned' her." '"Swooned" is in

 

 

 
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Page 133
D. J. TRUMP

quotes.

"Tt is a hoax and a lie just like all the
other hoaxes that have been played on me for the
past seven years, and while I'm not supposed to say
it, I will. This woman is not my type! She has no
idea what day, what week, what month, what year, or
what decade this so-called 'event' supposedly took
place. The reason she doesn't know is because it
never happened, and she doesn't want to get caught
up with details or facts that could be proven wrong.
If you watch Anderson Cooper's interview with her
where she was promoting a really crummy book, you
will see that it is a complete scam. She changed
her story from beginning to end after the commercial
break to suit the purposes of CNN and Andy Cooper,
Our justice system is broken along with almost
everything élse in our country. Her lawyer is a
political operative and Cuomo crony who goes around
telling people that the way to beat Trump is to sue
him all over the place. She is suing me on numerous
frivolous cases just like this one, and the court
system does nothing to stop it,

"In the meantime and for the record,

E. Jean Carroll is not telling the truth, is a woman

 

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D. J. TRUMP
I had nothing to do with, didn't know, and would
have no interest in knowing her if I ever had the
chance. Now all I have to do is go through years
more of legal nonsense in order to clear my name of
her and her lawyer's phony attacks on me. This can
only happen to 'Trump'!"
Did I read that correctly?

A. Great statement, yeah. True. True,

O% And now that you've heard it again and
you have it in front of you, you again confirm that
you wrote the whole thing yourself?

A. I wrote it all myself. All myself.

Q, In this statement you say, I think, for
the first time that it was a charity event, that
photo. It was a charity event that --

A. That was what I was told, yeah. I was
told it was a charity event. Nobody knows which

event it was, but it was like a charity event.

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Fage 136
1 B. J. TRUMP

 

reference "Ms. Bergdorf Goodman" is

 

 
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ES Q. Okay. Well, I guess the distinction I'm

19 trying to make, sir, is that when the allegation
20 came out in 2019, you said you -- I think it's your
21 testimony that you had no idea who she was.

22 A, TI still don't.

23 Q. Well, today you at least know that she's
24 +a plaintiff in a case suing you; correct?

25 A. Oh, yes. That, I know, but I know

 

 

 
 

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D. J. TRUMP

nothing about her, I think she's sick, mentally

sick.

 
   
 

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Fage 139
D. J. TRUMP

   

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actually indicated that she loved

   

Okay?) (She leved we

until) commercial
I think she said it w

didn't she? She

> Was very sexy to be

 

Didn't she say that?

Taped.
Q. So, sir, I just want to confirm: It's
your testimony that E. Jean Carroll said that she
loved being sexually assaulted by you?

A. Well, based on her interview with
Anderson Cooper, I believe that's what took place.
And we can define that. You'll have to show that.
I'm sure you're going to show that. But she was
interviewed by Anderson Cooper, and I think she said
that rape was sexy -- which it's not, by the way.
But I think she said that rape was sexy, and it
was -- she actually said things that were very
strange, and then she was a different person after
the -- when he said "We'll take a break right now.
We're going to take a break right now," he didn't
like what she was saying. He was very upset with
what -- and then she came back, and she was a much

different woman in the second half, so to speak.

 

 

 
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1 D. Jd. TRUMP

question I'm asking

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1 D. J. TRUMP

   

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3 Q. In the interview when Ms. Carroll talked
about rape being sexy, isn't it true that she said
that's a view that many other people hold?
A. Oh, I don't know. I mean, I don't know.

All I know is I believe she said rape is sexy or

8 something to that effect, but you'll have to watch
9 the interview. It's been awhile,

10 Q. And just to clarify, I think you said a
11 few minutes earlier that you used the word "swooned"
12 as a synonym for -- you said the F word -- for

13 sexual intercourse?
14 A. Yeah. That's because that's what she
15 said.
16 Q. What do you mean? She never used the
17. word "swooned, "
18. A. No. She said that I did something to her
19 that never took place. There was no anything. I

20 know nothing about this nut job.

 

21

Okay. Then you go on to say in the

 

 
   

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am not supposed to say it/)

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it's not politically correct to

 

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Fage 146
1 D. J. TRUMP

il statement

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22 Q. -- or recall making that statement?

(3; And I take it what you're saying there is
24 Ms. Carroll fabricated her claim that you sexually
25 assaulted her; correct?

 

 

 
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i D., J. TRUMP

2 Al Yes. Totally. 100 percent.

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D. J. TRUMP

 

Q. This -- when you say "this" and "that" --

A. This ridiculous situation that we're
doing right now. It's a big, fat hoax. She's a
liar and she's a sick person in my opinion. Really
sick. Something wrong with her.

 

 

 

 

 
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1 D. J, TRUMB

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1 D. J. TRUMP

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1. D, J. TRUMP

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1 D. J. TRUMP

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1 D. J. TRUMP

 
 

   

And the person that You were ‘speak: ing to

that Vides was Billy Bush?

   

6B now famous in

 

 

 
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D. J. TRUMP

Q. Please let me --
A. This is very old news. Fully litigated

during debates, during everything else. Fully

litigated.
Q. Okay --
A. And you know what I said then and I say

it now? Locker room talk. That was locker room

talk. That's what goes on.

 

 
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D. J. TRUMP

 

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Q. And -- now, you said before, a couple of
minutes ago, that this was just locker room talk?
A. It's locker room talk.

Q, And so does that mean that you didn't

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D. J. TRUMP

really mean it?

Ae No. It's locker room talk. I don't

know. It's just the way people talk.

 

 
 

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1 D. J. TRUMP

 

Le. Q. Do you remember she wrote about you a lot

13. when she worked at People magazine?

14 A. Oh, I do remember that there was some

15 woman that wrote, and then she -- a long time later,
16 I think, she wrote a wonderful story. And then a

17. long time later, as I remember it

a long time later she said that I
20 was aggressive with her, but she wrote the most
21 beautiful story. And then all of a sudden -- like
22 is it a year or two years later -- she comes out
23 with this phony story that I was aggres- -- I said,
24 Well, why would she have written such a good story

25 for People magazine? She wrote a really nice piece.

 

 

 

 
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D. Js TREMP

And then all of the sudden, like, you know, years or
months, many months later, she came up with this

phony charge.

 

 

 
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1 D. J. TRUMP

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D. J. TRUMP

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D. J. TRUMP

 

GQ. Does that mean that this refreshes your
recollection of who this is?

A. Yes, it does. This woman made up a
story, just like your client made it up. Just made
up a story. Having to do with sitting next to me on
an airplane.

And, I mean, I'll have to read this
again, but that story was so false, also.

But this was, I guess, making out as
opposed to what your client said. This story was so

false. This is a disgrace, also.

     

And do you recall speaking about

 

 

 
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WOOL, Ld not have any interest

 

 

 
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Page 1685

D. J. TRUMP

Q. But with respect to Ms, Leeds, did you
know anything about what she did or what her past
life was?

A. Even if you weren't suing me, I would
have no interest. Okay?

And with Ms. Leeds, I watched her. I
guess I saw her interview.

I mean, the whole concept of it. I'm
sitting on a plane. I'm very well known. Very,
very well known even then. It was a long time ago.

And all of a sudden -- and I think she
said this making out with her went on for quite a
while. So why didn't she leave? Why didn't she
scream? Why didn't she do something?

And she wasn't able -- as I remember
it -- I'm going -- I haven't read this again,
because I haven't seen this in years, but I believe
she said she didn't know where the plane was, where
the flight was, because I don't remember ever
sitting next to her, I don't think I did ever sit
next to her. I think she made that up, too.

But she couldn't find tickets. She

couldn't find anything. She didn't know where the

 

 
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D. J. TRUMP
Flight was going. Very much like your client. She
didn't know anything.

But she got publicity. And the people
that saw it laughed. But I didn't laugh, because it
was a charge,

And she didn't do anything, because there
Was nothing. She couldn't find -- she didn't know
where she was going. She -- very much like this. I
don't think she knew the year, the date, She didn't
know anything. All she knew is that she sat next to
me. I was very famous. I think it was at the time
The Art of The Deal came out or something, It was a
long time ago, long, long time ago.

And she sat next to me and I started
making out with her. And that lasted for quite a
while and then she ran. Where did she run to? She
ran to another seat? It was such a phony story.

And, again, I think I had the number one
book or something. It was -- you know, I was doing
well.

But, no, she would -- I would not have
ever done that. I don't believe she ever sat next
to me. I don't believe she was on the plane, I

don't believe there was a flight. And I

 

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lL D. Jd. TRUMP
2 certainly -- if she did -- which I don't believe she
3 did -- had nothing to do with me.

 

 
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Q.

D. J. TRUMP

The video we just watched where you

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D. J. TRUMP
talked about Ms. Leeds.
What else did you know about Ms. Leeds

that would indicate to you that she was -- would not
have been your first choice other than how she
looked?

A. I don't know. I think I probably saw her

on television or something.

But -- I don't want to be insulting, but
when people accuse me of something, I think I have a
right to be insulting, because they're insulting me.
They're doing the ultimate insult. They make up
stories and then I'm not allowed to speak my mind?
No, I disagree with that.

She would not have been anywhere on a
list. I just -- just wouldn't have been for me.

It's disgusting. What she said was
disgusting,

Can you imagine doing that on an
airplane, what she said? I'm doing that on an
airplane? That's almost as ridiculous as doing it

in Bergdorf Goodman in a dressing room.

 

 
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L. D. J. TRUMP

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i, D. J. TRUMP

 

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I think the attorneys, like you

 

 

 

 

 

 
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Di.0. TRUMP

Q. And the Truth Social post that we looked
at recently, the point of that was also to make her

pay dearly; no?

THE WITNESS: No. That's to defend my
reputation. Not for anybody else. That's me.
That's to defend my reputation against a false

accusation.

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D. J, TRUMP

OF And I take it from your testimony today,
sir, that that doesn't surprise you at all? That's
what you wanted people to think; correct?

A. No. I just wanted people to know that I
never did this. She accused me of something
falsely. And if I listen to you, I should never say
anything. Just never say anything. Sit back like a
little wallflower and just don't do anything.

No, no. She accused me of rape, ina
department store, crowded department store. And I
said it didn't happen. I said it never happened.
And I got sued for defamation. I got sued for
defamation.

So she can accuse me of rape and I'm not
supposed to say anything. No, no. That's not the
Way it works. She accused me, and I said it didn't

happen. And I let people know it didn't happen.

 

 

 
